          Case 1:21-mj-00596-RMM Document 7 Filed 09/15/21 Page 1 of 4




                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


    UNITED STATES OF AMERICA                        :
                                                    :
              v.                                    :
                                                    :
    GARY WILSON,                                    :    CASE NO. 1:21-mj-00596-RMM-1
                                                    :
                     Defendant.                     :
                                                    :
                                                    :

                MOTION TO INQUIRE INTO POTENTIAL CONFLICT

        COMES NOW the United States of America, by and through undersigned counsel, and

hereby files its request for an inquiry into the issue of a potential conflict of interest involving the

attorney for defendant Gary Wilson and Brady Knowlton, and whether the facts require an

appropriate hearing. As grounds in support thereof, the Government states the following:

                                          BACKGROUND

        On September 9, 2021, the Honorable United States Magistrate Judge Robin M.

Meriweather issued an arrest warrant for defendant Gary Wilson. David Finn, Esq., notified the

government that he represents Gary Wilson and appeared at the Rule 5 hearing in the District of

Utah.1 Wilson is charged by complaint with identical offenses arising out of an identical set of

circumstances as his co-defendant Brady Knowlton.2 Knowlton was previously represented by

Mr. Finn in this same matter. See Order Granting Motion Pro Hac Vice for the admission of

David Finn, United States v. Brady Knowlton, 1:21-cr-00046-RDM-2, ECF No. 8. Several



1
  Because Mr. Finn is not admitted to the Court in Utah, the Federal Public Defender represented
Wilson during the hearing. The Magistrate Judge forbade Mr. Finn from officially appearing in
the case.
2
  The government anticipates seeking indictment of Wilson as a co-defendant of Brady
Knowlton and Patrick Montgomery.
          Case 1:21-mj-00596-RMM Document 7 Filed 09/15/21 Page 2 of 4




weeks after noticing his appearance as Knowlton’s attorney, however, Mr. Finn withdrew as his

attorney and no longer represents Knowlton. See Motion to Withdraw as Attorney by David

Finn, United States v. Brady Knowlton, 1:21-cr-00046-RDM-2, ECF No. 21.

                                               LAW

       To start, while it is clear that a criminal defendant generally has a constitutionally

protected right to choose his own counsel, as contemplated by the Fifth and Sixth Amendments,

see Wheat v. United States, 486 U.S. 153, 158, 108 S. Ct. 1692, 100 L. Ed. 2d 140 (1988);

Yancey v. United States, 755 A.2d 421, 425 (D.C. 2000), the right to proceed to trial with counsel

of one’s own choosing is not absolute, see United States v. Gonzalez-Lopez, 548 U.S. 140, 152,

126 S. Ct. 2557, 165 L. Ed. 2d 409 (2006). “The essential aim of the [Sixth] Amendment is to

guarantee an effective advocate for each criminal defendant rather than to ensure that a defendant

will inexorably be represented by the lawyer whom he prefers[.]” Pinkney v. United States, 851

A.2d 479, 486-87 (D.C. 2004). A defendant’s right to counsel under the Sixth Amendment

includes the right to be represented by an attorney who is free from conflicts of interest. See

Wood v. Georgia, 450 U.S. 261, 271, (1981), Holloway v. Arkansas, 435 U.S. 475, 481-82,

(1978); United States v. Levy, 25 F.3d 146, 156 (2d Cir. 1994); United States v. Curcio, 680 F.2d

881 (2d Cir. 1982); Wheat v. United States, 486 U.S. 153, 158 (1988) (“We have recognized that

multiple representation of criminal defendants engenders special dangers of which a court must

be aware”). See also United States v. Lopesierra-Gutierrez, 708 F.3d 193 (D.C. Cir. 2013),

United States v. Flynn, 411 F. Supp. 3d 15 (D. D.C. 2019). Moreover, when a conflict situation

becomes apparent to the government, the government has a duty to bring the issue to the court’s

attention. See United States v. Tatum, 943 F.2d 370, 379–80 (4th Cir. 1991).

       When the trial court knows or reasonably should know of the possibility of a conflict of



                                                 2
          Case 1:21-mj-00596-RMM Document 7 Filed 09/15/21 Page 3 of 4




interest, it has a threshold obligation to determine whether the attorney has an actual conflict, a

potential conflict, or no conflict. United States v. Kliti, 156 F.3d 150,152 (2d Cir. 1998). In

fulfilling this initial obligation to inquire into the existence of a conflict of interest, the trial court

may rely on counsel’s representations. Levy, 25 F.3d at 153. If a district court ignores a

possible conflict and does not conduct this initial inquiry, reversal of a defendant’s conviction

may be automatic. See, e.g., Kliti 156 F.3d at 152; United States v. Jiang, 140 F.3d 124, 127 (2d

Cir. 1998).

        Here, Mr. Finn previously represented Knowlton in this matter and now seeks to

represent Wilson in this same matter. The government has reason to believe that there is a

significant potential for a conflict of interest in this case and the Court must make inquiry into

the matter. In order to proceed with the representation, both Wilson and Knowlton must consent

to the conflict. District of Colombia Rule of Professional Conduct 1.9 requires an informed

waiver by Knowlton, as a former client. Rule 1.9 provides:

        A lawyer who has formerly represented a client in a matter shall not thereafter represent
        another person in the same or a substantially related matter in which that person’s interests
        are materially adverse to the interests of the former client unless the former client gives
        informed consent.

D.C. Rule of Professional Conduct 1.9. Further, Rule 1.7 governs the situation where an attorney

seeks to represent a client where there may be a conflict due to an adverse position taken or likely

to be taken. The Rule specifies that the conflict is waivable, but the waiver must be fully informed.

        The Government is not currently moving to disqualify Mr. Finn as counsel because it

does not know whether an actual or potential conflict exists, or whether Knowlton and Wilson

consent to the representation.

        The government respectfully requests that the court inquire into the status of Mr. Finn’s

representation of Wilson in order to properly address the potential conflict of interest, and if the

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         Case 1:21-mj-00596-RMM Document 7 Filed 09/15/21 Page 4 of 4




Court determines the need, conduct an appropriate hearing to include Knowlton.



                                           Respectfully submitted,

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